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                           IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. 17-20215-CR-SCOLA

  UNITED STATES OF AMERICA,

                        Plaintiff,

  VS.

  RENATO RODRIGUEZ,

                    Defendant.
  ____________________________________/

        RENATO RODRIGUEZ’S SENTENCING MEMORANDUM AND MOTION
                  IN SUPPORT OF DOWNWARD VARIANCE


         The Defendant, Mr. Renato Rodriguez, by and through counsel, files the following

  Memorandum and Motion in Support of Downward Variance. As the Court is well aware, the

  sentencing guidelines are but one factor, among several, courts must consider in determining an

  appropriate sentence. Kimbrough v. United States, 128 S.Ct. 558, 564 (2007); see also Gall v.

  United States, 128 S. Ct. 586, 602 (2007).

         The Eleventh Circuit in United States v. Pugh, set forth the guidelines which a district court

  should follow when sentencing a defendant. 515 F.3d 1179 (11th Cir. 2008). “The district judge

  must make an individualized assessment based on the facts presented. If he decides that an outside-

  Guidelines sentence is warranted, he must consider the extent of the deviation and ensure that the

  justification is sufficiently compelling to support the degree of the variance. We find it

  uncontroversial that a major departure should be supported by a more significant justification than

  a minor one. (emphasis added). Id at 1190 (citing Gall, 128 S. Ct. at 957). Courts, once again,

  have increased discretion in sentencing defendants.
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         In the instant case, the parties agree that the advisory guideline range is the statutory cap

  at 120 months. However, there are several factors that warrant a downward variance in Renato’s

  sentence. We are respectfully requesting that a sentence of eight years is warranted after

  considering the applicable statutory factors.

  History and Personal Characteristics of Renato Rodriguez

         Renato Rodriguez is a 44 year old family man. He grew up in a working-class home in

  Brooklyn - his father, who passed in 2013, worked in the laundry department of a hospital and his

  mother was a house-keeper. He and his wife of 20 years, Miriam Alvarez, have three children -

  twin girls who are 15 years old and their adult step-son from a previous relationship. Renato and

  Miriam are especially grateful for their twin girls – it was their dream to have children together,

  but the couple had great difficulty in conceiving. After a miscarriage and two IVF cycles, they

  were both elated to hear they were finally having twin babies in 2002. Renato also has three

  siblings, who all reside in Florida – Juan (52) is the manager of a meat department, Hector (49)

  owns and operates a pizza restaurant at which Renato currently works, and Bilbina (47) is a

  homemaker. This arrest is Renato’s first contact with the criminal justice system and has taken this

  close-knit family by surprise.

         Renato relocated from Brooklyn to Miami before graduating high-school; however, he

  received his GED diploma after arriving in Miami. Renato would go on to be employed as a branch

  manager at Wells Fargo (which later became HSBC), which is where he met co-defendants

  Barrage and Granda. Renato worked at HSBC for about five and a half years before being offered

  a job at NTR by Barrage.

         Renato has always made it a point to teach his daughters the importance of volunteering

  and giving back to others, especially the less fortunate and less capable. To that end, since the
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  twins were 7 or 8 years of age, Renato would make it a point to have family volunteer outings,

  whenever the opportunity presented itself. One of the families’ favorite volunteer activities was to

  join in on any beach, park or school clean-up. Renato has taken the family to clean up Key

  Biscayne, Everglades National Park, and even helped clean up and clear out debris from the twins’

  school after hurricane Irma. Renato and his family also spend a significant amount of time

  volunteering at various group housing facilities, especially around the holidays. Renato, along with

  his family, have visited Christian Homes for Children and elderly group homes to help host BBQs,

  game nights, or provide other forms of hosting entertainment. Renato tries to instill in his children

  the importance of giving back to the community and helping the less fortunate. Renato now

  works over 70 hours a week at his brother’s pizza restaurant, so volunteering with his daughters

  has become more difficult. However, he consistently encourages the twins to participate in such

  community service.

         The letters submitted in support of Renato demonstrate not only that Renato is a caring

  family man, but also demonstrate that he has always been a hard and dedicated worker and a loyal

  friend. Here are a few examples of what others have to say about him:

        “Renato and his wife were very involved with their children in our school. The family has
         always been willing to help where needed.” – Father Jesus Arias, pastor Shepherd Catholic
         Church.

        “They [Rodriguez’] are a lovely family. They attend church together and do a lot for their
         community. I know Renato is a hard worker and a very loving father. He adores his girls
         and his wife.” – Linda Serrano, family friend.

        “Renato has a few tattoos on his arms, they aren’t dragons or pinups. He has his daughter’s
         footprints, the postmark from the same letter that his father mailed his mother from
         Brooklyn to Ecuador asking her to marry him and his dad’s signature. In many ways this
         tells you more about this man that anything I can write on this piece of paper.” - Eduardo
         Marques, friend.

        “I recall a time during the Christmas holiday rush, [Renato] found a wallet on the ground
         with over nine hundred dollars in it. Renato, the good natured and honest man that he is
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         checks the wallet he found and tells the lady..this belongs to you. Renato’s good nature
         doesn’t stop there. He’s helped many of his friends and family.” – Rafael Rius, friend.

        “I’ve known Renato since approximately 2001. We met each other through work and
         through the years have become personal friends. I have always known Renato to be a good
         citizen, excellent father, and a great leader. [He is] always willing to help others in need.
         Renato has always been a giving and caring person looking for ways to help where he can.”
         - David A. Ramirez, former co-worker and friend.

  Nature and Circumstances of the Offense

         Renato left his job at HSBC when Sam Barrage, who was the Vice-President and had a

  partnership in the business, offered him a job opportunity with NTR Metals. Even though Renato

  had no experience in the gold buying industry, he was hired by Elemetal to assist in their business

  of buying gold.

         As Renato’s factual proffer demonstrates, he was willfully blind to the actions of others,

  thereby assisting in the conspiracy. Renato is the least culpable of the defendants in this Indictment.

  While many people benefited financially from this billion dollar fraud, Renato received a yearly

  salary of $105,000, with additional bonuses per year based off of his commission. The most Renato

  ever earned at NTR was $178,845 in 2016. His total salary during the period of the conspiracy was

  $643,281.81.

  Disparity Amongst Similarly Situated Defendants

         As previously mentioned, Renato is less culpable than co-defendants Barrage and Granda.

  Both Granda and Barrage received reductions for their cooperation against Renato. The

  government recommended a reduced sentence to 84 months (7 years) for Granda and 90 months

  (7 ½ years) for Barrage. This Court, on January 19, 2018 sentenced Granda to 72 months (6

  years) imprisonment and 78 months (6 ½ years) imprisonment as to Barrage. A downward variance

  to 96 months would avoid any unwarranted disparities between Renato and the co-defendants.
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  Cooperation and Payment of Restitution

         Renato is extremely remorseful for his participation and has agreed to cooperate fully. He

  has agreed to voluntarily forfeit the entire contents of his 401K account with NTR which is

  approximately $13,000. He is also forfeiting a $108,092.87 pension plan with HSBC. While his

  pension with HSBC was not subject to forfeiture, Renato voluntarily offered to forfeit his pension

  to the government. After HSBC removed taxes, the final amount being turned over to the

  Department of Homeland Security is $86,474.30. The only other asset that the Rodriguez’ own is

  their home that they purchased almost 20 years ago that has equity of approximately $146,000.

  Renato has never lived an extravagant lifestyle. The family owns one vehicle and, with the

  exception of their mortgage, they have almost no debt. Renato has given the government almost

  everything that he owns.

         WHEREFORE, Renato Rodriguez prays that this Court will grant this request for a

  downward variance from the advisory guideline and sentence Renato Rodriguez to eight years (96

  months) imprisonment.

                                               Respectfully submitted,

                                               /s/ Sabrina Puglisi
                                               Sabrina Puglisi
                                               Fla. Bar No. 0324360

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on January 29, 2018, undersigned electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF which will send notification of such filing

  the United States Attorney’s Office, Southern District of Florida.

                                                       /s/ Sabrina Puglisi
                                                       Sabrina Puglisi, Esq.
